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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                                  CASE NO. 1:97-cr-00011-MP

EDWARD LAMONA JOHNSON, JR.,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 445, Motion to Dismiss Count I Based on Newly

Discovered Evidence Pursuant to Fed. R. Crim. P. 33, filed by Defendant Edward Lamona

Johnson, Jr. Counts I and V, respectively, of the indictment charged the Defendant with

conspiring to possess with intent to distribute and conspiring to distribute crack cocaine, and

with knowingly and intentionally distributing crack cocaine. Defendant was found guilty of both

counts on July 12, 1997, after pleading not guilty. Defendant requests the Court to vacate the

judgment as to Count I based upon newly discovered evidence. Rule 33 allows a court to vacate

any judgment and grant a new trial if the interest of justice so requires. However, if the motion

is based upon newly discovered evidence, it “must be filed within 3 years afer the verdict or

finding of guilty.” FED. R. CRIM. P. 33(b)(1). Because Defendant’s motion was not filed within

three years after the finding of guilt, it is untimely. Accordingly, Defendant’s Motion to Dismiss

is DENIED.


       DONE AND ORDERED this             21st day of November, 2006


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
